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 EXHIBIT H
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  EXPENSE SUMMARY FOR INCEPTION TO NOVEMBER 30, 2019                              SUPPLEMENT DECEMBER 1 - 17, 2019

                   Category                          Total                              Category                     Total

Federal Express, Local Courier, Postage                 $7,134.24   Federal Express, Local Courier, Postage                $0.00
Hotels                                                 $92,331.66   Hotels                                              $215.53
Meals                                                  $29,971.38   Meals                                                 $81.90
Air Travel                                            $134,939.95   Air Travel                                         $1,946.96
Discovery Costs                                        $26,286.61   Discovery Costs                                        $0.00
Pacer, Electronic Research                            $189,211.80   Pacer, Electronic Research                         $1,881.28
Experts                                               $466,408.16   Experts                                          $109,345.62
Court Fees                                             $53,300.66   Court Fees                                             $0.00
Process Service                                         $9,058.30   Process Service                                     $729.50
Hearing Transcripts                                     $6,812.85   Hearing Transcripts                                 $391.00
Ground Transportation (Mileage, Rental Car,                         Ground Transportation (Mileage, Rental Car,
Parking, Taxi, Rideshare)                              $29,640.37   Parking, Taxi, Rideshare)                           $257.40
Miscellaneous                                         $113,448.93   Miscellaneous                                         $0.00
Mediation Services                                    $131,491.25   Mediation Services                                    $0.00

TOTAL                                               $1,290,036.16   TOTAL                                            $114,849.19

                                                                    CUMULATIVE TOTAL                              $1,404,885.35
